

People v Acosta (2022 NY Slip Op 00737)





People v Acosta


2022 NY Slip Op 00737


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Manzanet-Daniels, J.P., Webber, Oing, Mendez, Higgitt, JJ. 


Ind No. 1365N/15 Appeal No. 15219 Case No. 2018-263 

[*1]The People of the State of New York, Respondent,
vJesus M. Acosta, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Emma L. Shreefter of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Franklin R. Guenthner of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (Bonnie Wittner, J.), rendered June 30, 2016, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree, and sentencing him to a term of two years, held in abeyance, and the matter remanded for further proceedings in accordance herewith.
The existing record sufficiently demonstrates that defendant was deprived of effective assistance of counsel (see Padilla v Kentucky, 559 US 356, 369, 374 [2010]) when his attorney failed to advise him that his guilty plea to a drug-related felony would result in mandatory deportation, and merely stated that "this may and probably will affect his immigration status" (see e.g. People v Remigio, 192 AD3d 519 [1st Dept 2021]; People v Johnson, 177 AD3d 484 [1st Dept 2019]). The appeal is held in abeyance to afford defendant the opportunity to move to vacate his plea upon a showing that there is a reasonable probability that he would not have pleaded guilty had he been made aware of the deportation consequences of his plea.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








